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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT CINCINNATI

 SCOTT D. CREECH,

                              Petitioner,                    :    Case No. 1:15-cv-193

            - vs -                                                District Judge Michael R. Barrett
                                                                  Magistrate Judge Michael R. Merz

 CHARLOTTE JENKINS, Warden,
 Chillicothe Correctional Institution,
                                                             :
                              Respondent.


              SUPPLEMENTAL REPORT AND RECOMMENDATIONS


            This habeas corpus case is before the Court on Petitioner’s Objections (ECF No. 53) to the

 Magistrate Judge’s Report and Recommendations recommending dismissal of the Petition

 (Report, ECF No. 48). District Judge Barrett has recommitted the case for reconsideration in light

 of the Objections (ECF No. 54).




 Procedural History1




            Petitioner was indicted April 30, 2008, on a number of drug and weapons charges.

 Convicted by a jury, he was sentenced to an aggregate term of nineteen years imprisonment. The

 conviction was affirmed on direct appeal. State v. Creech, 188 Ohio App. 3d 513 (4th Dist. June 1,

 2010)(“Creech I”), appellate jurisdiction declined, 126 Ohio St. 3d 1600 (2010). In June 2011, he


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     The history is recounted in fuller detail in the Report (ECF No. 48, PageID 2863-69).

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 began attacking his convictions, both by a motion to vacate the judgment and by motion for delayed

 post-conviction relief, on the ground that a mistake in the case numbers on the verdicts rendered them

 void. The trial court denied both motions and the Fourth District affirmed. State v. Creech, 2013-

 Ohio-3791, 2013 WL 4735469 (4th Dist. Aug. 27, 2013)( appellate jurisdiction declined, 137 Ohio St.

 3d 1475 (2014), cert. denied, 135 S.Ct. 250 (2014)(“Creech II”).

        In 2010 the Fourth District had remanded the case for resentencing. In his Reply, Petitioner

 asked that the case be stayed pending direct appeal from the resentencing; that request was granted on

 March 18, 2016 (ECF No. 23). On the Magistrate Judge’s order, the Respondent was filing status

 reports. In the Fourth Status Report, Respondent advised that the Ohio Supreme Court had declined

 review of the Fourth District’s affirmance on resentencing and the Fourth District had also denied

 Petitioner’s 26(B) Application to reopen the direct appeal (ECF No. 35).

        At that point the Court vacated the stay and ordered Petitioner to move to amend his petition

 to raise any claims that had arisen during the resentencing proceedings (ECF No. 38). Petitioner

 responded that he still had to seek review in the Ohio Supreme Court of the denial of his 26(B)

 Application (ECF No. 39). Nevertheless, he moved to amend (ECF No. 40) and that motion was

 granted without opposition (ECF No. 42). Respondent answered the Amended Petition (ECF No. 43)

 and Petitioner filed an Amended Reply (ECF No. 46). This made the case ripe and the Magistrate

 Judge recommended dismissing the petition with prejudice and denying Creech a certificate of

 appealability on May 8, 2018 (ECF No. 48).




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                                                  Analysis


         Objection One: Report Issued While This Case Was Stayed



         Petitioner first objects that the Report “incorrectly states that Petitioner’s Motion for Stay

 and Abeyance has been vacated.” (Objections, ECF No. 53, PageID 2891.) On December 27,

 2017, the Warden filed a Fourth Status Report which noted that the Supreme Court of Ohio had

 not accepted Petitioner’s appeal on re-sentencing and that the Fourth District had denied his 26(B)

 Application (ECF No. 35, PageID 2538).                  The same day, concluding that the state court

 proceedings were complete, the Magistrate Judge vacated the stay and found the case ripe for

 decision (ECF No. 36). Creech responded with a Motion to File Documents to Supplement the

 Record which includes the statement that the Petition “will have to be amended to incorporate the

 new issues being exhausted now in the lower courts of the State of Ohio.” (ECF No. 37.) The

 Magistrate Judge then ordered Petitioner to file by January 29, 2018, a motion for leave to amend

 which shall have attached a complete proposed amended petition.” (Scheduling Order, ECF No. 38,

 PageID 2712.) The Stay was never reinstated.

         On February 1, 2018, Petitioner filed his Motion to Amend, stating he was providing

                  possible additional claims based on the events surrounding the
                  resentencing hearing and the deficiencies of both trial and appellate
                  counsel. These deficiencies are what were addressed in Petitioner’s
                  Application to Reopen pursuant to App. R. 26(B), which will be on
                  appeal to the Ohio Supreme Court within the next 30 days.[2]

 (ECF No. 40, PageID 2719-20.) Then, having been ordered to file “a complete proposed amended




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   This statement confirms the accuracy of the Warden’s statement in the Fourth Status Report that nothing was pending
 in the Ohio courts when that document was filed on December 27, 2017.

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 petition,” Creech reproduced his original Petition and added five grounds at the end (see ECF No.

 40-1, which bears the Clerk’s date stamps for both March 19, 2015, and February 1, 2018).

        The Warden did not oppose the Motion to Amend and it was granted on February 28, 2018,

 along with dates to complete the briefing (ECF No. 42).

        On May 8, 2018, the Magistrate Judge ordered the record expanded to include the

 following:

        1.      Creech’s Memorandum in Support of Jurisdiction in the Supreme Court of Ohio,
                filed February 2, 2018 (ECF No. 47, PageID 2832-49.
        2.      The Fourth District’s denial of the 26(B) Application, filed December 20, 2017. Id.
                at PageID 2850-62.

 (Report and Recommendations, ECF No. 48, PageID 2870.)

         The next day\, the Ohio Supreme Court declined jurisdiction over the 26(B) appeal. State

 v. Creech, 2018-Ohio-1153, 152 Ohio St. 3d 1466, 2018 Ohio LEXIS 1153 (2018). Creech calls

 the Report “preemptive” because it was decided the day before the Supreme Court of Ohio acted

 (Objections, ECF No. 53, PageID 2894). However, the Ohio Supreme Court decided nothing

 about the merits; its entire opinion reads “APPEAL[] NOT ACCEPTED FOR REVIEW.”

 Obviously the Report had no effect on the Ohio Supreme Court’s decision.

        A thread running through the Objections is Petitioner’s apparent belief that he had a right

 to a stay until every possible state proceeding was complete.            However, a stay of habeas

 proceedings to permit exhaustion is discretionary with a District Court.

        District courts have authority to grant stays in habeas corpus cases to permit exhaustion of

 state court remedies in consideration of the AEDPA’s preference for state court initial resolution

 of claims. However, in recognizing that authority, the Supreme Court held:

                [S]tay and abeyance should be available only in limited
                circumstances. Because granting a stay effectively excuses a
                petitioner's failure to present his claims first to the state courts, stay

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                 and abeyance is only appropriate when the district court determines
                 there was good cause for the petitioner's failure to exhaust his claims
                 first in state court. Moreover, even if a petitioner had good cause for
                 that failure, the district court would abuse its discretion if it were to
                 grant him a stay when his unexhausted claims are plainly meritless.
                 Cf. 28 U.S.C. § 2254(b)(2) ("An application for a writ of habeas
                 corpus may be denied on the merits, notwithstanding the failure of
                 the applicant to exhaust the remedies available in the courts of the
                 State"). . . .

                 On the other hand, it likely would be an abuse of discretion for a
                 district court to deny a stay and to dismiss a mixed petition if the
                 petitioner had good cause for his failure to exhaust, his unexhausted
                 claims are potentially meritorious, and there is no indication that the
                 petitioner engaged in intentionally dilatory litigation tactics.

 Rhines v. Weber, 544 U.S. 269, 277-78 (2005). “Staying a federal habeas petition frustrates

 AEDPA’s objective of encouraging finality by allowing a petitioner to delay the resolution of

 federal proceedings. Id. at 277. The Court also directed district courts to place reasonable time

 limits on the petitioner’s trip to state court and back. Id. at 278.

         A habeas case may be stayed under Rhines only when there is good cause to do so. When

 the good cause for the stay has disappeared, it should be vacated and the federal proceedings

 completed. The only issues which could be raised in Creech’s 26(B) Application were issues of

 ineffective assistance of appellate counsel on appeal from the re-sentencing. When those issues

 had been decided by the Fourth District, good cause for further delay evaporated and the stay was

 vacated (ECF No. 36). The chance that the Supreme Court of Ohio would accept jurisdiction and

 reverse on the ineffective assistance of appellate counsel claims was vanishingly small and

 adjudication of this case had already been delayed more than three years. It was appropriate to

 move forward to advance the AEDPA goal of finality in habeas cases. Even if it had been error to

 vacate the stay in December 2017, Petitioner suffered no harm because the Ohio Supreme Court

 refused to hear his appeal.



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         Objection Two: “Issues and Arguments that Still Need to be Presented to this Court”



         Petitioner devotes most of his Objections to claims of ineffective assistance of counsel. He

 recites at length how the initial search warrant was unconstitutional (Objections, ECF No. 53,

 PageID 2896-99). He then asserts his first trial attorney, Richard Nash, provided ineffective

 assistance of trial counsel when he “failed to exercise Petitioner’s right to a suppression hearing”

 to have the evidence seized pursuant to that warrant excluded. Id. at PageID 2900. Moreover, he

 claims the confidential informant and investigating detectives should have been deposed. Id.

         A substitute trial attorney, James Boulger, is said to have filed a motion to suppress but not

 to have appeared for a hearing on the motion. Id. at PageID 2902. Boulger is also alleged not to

 have communicated with Creech. Id. at PageID 2903-04. Importantly, Creech says these and the

 “Additional Arguments” beginning on PageID 2905, “would have also been incorporated in

 Petitioner’s Amended Petition had he been given the opportunity to do so after the state court

 proceedings had been exhausted as required by AEDPA.” Id. Thus, even though Creech had been

 ordered to file a motion to amend with a “complete proposed amended petition,” he now says he

 did not do so and that he had more issues he wanted to add after the Supreme Court of Ohio

 finished with his 26(B) appeal. However, Creech never again moved to amend after January 2008,

 either before or after the Supreme Court denied his appeal.

         Under “Additional Arguments,” Creech claims the physical evidence was mishandled, was

 planted on his property, and was not subject to usual chain of custody requirements. Id. at PageID

 2905.

         Attorney Boulger missed the appeal date and Creech had to have Public Defender Claire



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 Cahoon appointed to filed for a delayed appeal. Creech asserts she committed ineffective

 assistance of appellate counsel by only raising an assignment of error about allied offenses of

 similar import. Id. at PageID 2908.

        Petitioner also complains of ineffective assistance of appellate counsel by attorney

 Elizabeth Gaba whose ineffectiveness is said to consist in failing to charge attorney Cahoon with

 ineffectiveness for failing to charge trial attorneys Nash and Boulger with ineffectiveness. Id. at

 PageID 2911-13. Petitioner concludes “The truth of the matter is the case is now ripe for the

 Petitioner to present a petition that can now include all exhausted state court remedies.” Id. at

 PageID 2913.

        Petitioner’s Objections show that he completely misunderstands the exhaustion doctrine.

 That doctrine requires a federal court not to decide a habeas corpus claim for which the petitioner

 has an available state court remedy. 28 U.S.C. § 2254(b) and (c); Picard v. Connor, 404 U.S. 270,

 275 (1971). When a petitioner files a “mixed” petition with some exhausted and some unexhausted

 claims, it was the law before the AEDPA that the whole petition must be dismissed. Rose v. Lundy,

 455 U.S. 509 (1982). This rule did not prevent eventual habeas corpus review on the merits

 because there was no limit on the number of petitions a defendant could file and no statute of

 limitations. The AEDPA changed that by adopting a one-year statute of limitations and requiring

 circuit court approval before a second habeas application could be filed.

        In Rhines, supra, the Supreme Court provided relief from this dilemma: a petitioner could

 file his habeas petition within the one-year time limit and then seek a stay as to those claims which

 had not yet been exhausted. The AEDPA does not allow a habeas petitioner to bring some claims,

 seek a stay to exhaust those claims, then when exhaustion is complete file a new petition which

 presents new claims never before pleaded in federal court.



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        That is what Petitioner Creech is trying to do. When he filed his Petition in March 2015,

 he raised only Grounds One through Five. The Report analyzes these claims as all relating to

 Creech’s confusion-of-case-numbers claim and he does not object to that analysis. The Report

 explains in detail why those five grounds are without merit, basically because, as the Fourth

 District Court of Appeals held, it was mere clerical error and never impinged on any substantial

 right (Report, ECF No. 48, PageID 2876-83).

        The only mention of ineffective assistance of counsel in these five Grounds is the shotgun

 statement in Ground Five that “The petitioner was deprived of effective representation of counsel

 in all state proceedings.” This Ground also claims appellate court error for not allowing his 26(B)

 applications in both appellate cases and “cumulative error.” A habeas petitioner cannot make a

 broad brush allegation of ineffective assistance involving five lawyers with no detail and then

 expect to amend more than three years later by putting flesh on the bones of those allegations.

        Most of Creech’s claims of ineffective assistance relate to communications he had with his

 attorneys that are not on the record, e.g., arguments they should have made in favor of suppression

 in the trial court. But under Ohio law, these off-record facts must be presented in a petition for

 post-conviction relief under Ohio Revised Code § 2953.21. Creech’s post-conviction petition was

 dismissed as untimely (Decision of July 5, 2012, State Court Record, ECF No. 10, PageID 722, et

 seq.; aff’d, State v. Creech, id. at PageID 895, et seq.). And in any event, Creech’s untimely post-

 conviction petition contained none of these claims of ineffective assistance of trial counsel relating

 to suppression matter (see State Court Record, ECF No. 10, PageID 574 and 661).

        In sum, Petitioner’s new claims of ineffective assistance of trial counsel relating to

 suppression matter are barred by the statute of limitations: they are being made for the first time

 more than one year after his re-sentencing became final on direct appeal. Moreover, they are



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 procedurally defaulted because they were never presented to the Ohio courts in a petition for post-

 conviction relief.



        Objection Three: Responses to Report’s Conclusions on Grounds Actually Pleaded



        As just noted, most of Mr. Creech’s Objections are devoted to arguing ineffective

 assistance of trial counsel claims he never made in the state courts. However, he does take issue

 with one particular conclusion of the Report on a ground he actually pleaded. The only claim that

 was unexhausted at the time the Report was filed was the claim of ineffective assistance of

 appellate counsel that Creech made in his last 26(B) Application. The Fourth District explained

 at length that he had not suffered ineffective assistance of appellate counsel because the omitted

 assignments of error were without merit. In substance the underlying claim was to a right to a

 speedy resentencing proceeding: Creech’s re-sentencing on remand after his first appeal had been

 delayed five years. The Fourth District held there was no ineffective assistance of appellate

 counsel in failing to raise this claim because Creech was not entitled to a full re-sentencing hearing

 under the precedent he cited, State v. Bezak, 114 Ohio St. 3d 94 (2007), because that case only applied

 to re-sentencing for improper imposition of post-release control and Creech’s remand was for merger

 of allied offenses under Ohio Revised Code § 2941.25.

        Creech objects that both the Fourth District and the Magistrate Judge considered only state

 law on timely resentencing and he was entitled to speedy resentencing under federal law

 (Objections, ECF No. 53, PageID 2909, citing United States v. Thomas, 167 F.3d 299 (6th Cir.

 1999). That case did recognize that there is a Sixth Amendment right to a speedy re-sentencing

 on remand, but found the delay in Thomas’s case was not unreasonable and in any event caused

 no prejudice. Creech invites this Court to find that the longer delay in his case was unreasonable.
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 However, he points to no resulting prejudice, other than his rejected-under-state-law claim that he

 was entitled under Bezak, supra, to a full re-sentencing hearing. And Thomas was before the Sixth

 Circuit on direct appeal at that time. To obtain habeas relief, Creech would have to show clearly

 established Supreme Court, not Sixth Circuit, precedent on speedy resentencing.

        In support of his Objections, Petitioner attaches fifteen pages of exhibits (ECF No. 53,

 PageID 2917-31). They cannot be considered here because (1) he has never sought or obtained

 leave of court to expand the record in this way; and (2) in any event consideration of these

 documents, most of which were not before the state courts when they decided the case, is precluded

 by Cullen v. Pinholster, 563 U.S. 170 (2011).



 Conclusion



        Based on this analysis, the Magistrate Judge respectfully recommends Petitioner’s

 Objections be overruled and the Petition be dismissed with prejudice. Because reasonable jurists

 would not disagree with this conclusion, Petitioner should be denied a certificate of appealability

 and the Court should certify to the Sixth Circuit that any appeal would be objectively frivolous

 and therefore should not be permitted to proceed in forma pauperis.



 July 5, 2018.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge




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                             NOTICE REGARDING OBJECTIONS



 Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
 proposed findings and recommendations within fourteen days after being served with this Report
 and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen days
 because this Report is being served by mail. Such objections shall specify the portions of the
 Report objected to and shall be accompanied by a memorandum of law in support of the objections.
 If the Report and Recommendations are based in whole or in part upon matters occurring of record
 at an oral hearing, the objecting party shall promptly arrange for the transcription of the record, or
 such portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless
 the assigned District Judge otherwise directs. A party may respond to another party=s objections
 within fourteen days after being served with a copy thereof. Failure to make objections in
 accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638 F.2d
 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




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